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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,                                   CASE NO. 19-CR-20141-JLK-2

                Plaintiff,

 vs.

 VICTOR ROJAS,

             Defendant,
 ______________________________/

                        DEFENDANT, VICTOR ROJAS’
       NOTICE OF FILING ADDITIONAL CORRESPONDENCE IN SUPPORT OF
            DEFENDANT’S MOTION FOR A DOWNWARD VARIANCE
             PURSUANT TO THE TITLE 18 U.S.C. §3553(a) FACTORS

        COMES NOW the Defendant, VICTOR ROJAS, by and through her undersigned

 counsel, and presents herewith, his Notice of Filing Additional Correspondence in Support of

 Defendant’s Motion for a Downward Variance pursuant to the Title 18 U.S.C. §3553(a) Factors,

 and states as follows:

       • Attached hereto is correspondence to the Court from James S. Cohen, M.D.


                                                   Respectfully submitted,

                                                   Ana M. Davide, Esq.
                                                   Florida Bar No. 875996
                                                   2929 SW 3rd Ave., Suite 420
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                                                   Telephone: (305) 854-6100
                                                   Fax: (305) 854-6197
                                                   E-mail: ana@anadavidelaw.com
                                                   (Counsel for Defendant, Victor Rojas.)

                                                   /s/ Ana M. Davide_____
                                                   Ana M. Davide, Esq.
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 14th day of August, 2020, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.

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                                                       (Counsel for Defendant, Victor Rojas.)

                                                       /s/ Ana M. Davide_____
                                                       Ana M. Davide, Esq.

                                        SERVICE LIST
                            United States of America v. Victor Rojas
                                 Case No. 19-CR-20141-JLK-2
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                                                                             431 Lewelen Circle
                                                                             Englewood, NJ 07631
                                                                             August 13, 2020
 Judge James Lawrence King
 Southern District of Florida
 Case: 1-19-cr-20141-JLK
 Defendant: Victor Rojas Bascope
 Via Email: King@flsd.uscourts.gov


 Dear Judge King,                      Re: Sentencing Hearing of August 17, 2020

 I was asked by the defendant as well as some of his family members to make a statement for
 you to consider when passing sentence.

 I am aware that the court asks that letters such as this one be submitted two weeks prior to
 sentencing date. My efforts to meet this deadline were severely interrupted by a severe and
 prolonged power outage (storm Isaiah) as well as recent duties taking care of my 94 year
 mother. Now that time is short I am submitting this letter directly to you via email. As well, I
 am copying this letter to Timothy Abraham (Timothy.Abraham2@usdoj.gov) as well as Ana
 Davide, Esq. (ana@anadavidelaw.com)

 I met Victor Rojas in August of 2008 after having met his wife, Norma, a few days before at the
 Englewood Farmers market. We became friends. In 2012 and in several subsequent years I
 travelled to Santa Cruz, Bolivia and met many of Victor's relatives including his mother, two
 sisters and two brothers, one of whom is Ruben Rojas - a codefendant and fugitive in this case.
 I have read all the publically available filings at the PACER website. I learned of Victor's
 incarceration and troubles for the first time in May of 2019 from his sister, while I was in Santa
 Cruz.

 My own background may shine some perspective and hopefully credibility in my words here. I
 am a retired Emergency Physician. I graduated Yale University, Baylor College of Medicine
 (Houston, Texas), completed Residencies in both Internal Medicine and Emergency Medicine
 and subsequently became board certified in both specialties. From 1998 to 2000 I served as the
 Secretary/Treasurer of the American Academy of Emergency Medicine, AAEM. I am one of the
 Associate Editors of Principals and Practice of Emergency Medicine, IV Edition. I am the
 recipient of the James Keaney Award from the AAEM. On September 11 and September 12,
 2001 I was present at the site of the destroyed World Trade Center where I searched for
 surviving victims amidst the still burning buildings and intense toxic fumes. On September 11 I
 was made the medical director of the field hospital rapidly set up at the Chelsea Piers in
 Manhattan. I departed that location at approximately 8 p.m. and travelled to the WTC where I
 worked until the following morning. This is all documented in an article I wrote for Emergency
 Medicine News, published in November of 2001.
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 My residency in Emergency Medicine was at Lincoln Hospital in the South Bronx from 1990 to
 1993 which was the height of the gang drug wars. I treated dozens if not hundreds of drug
 dealers and their victims for major trauma - usually being stabbed or shot. On one occasion I
 performed an emergency C-Section on an approximately 7 month pregnant woman who had
 been shot in the chest. She died. The newborn survived. So, well beyond exposure to TV news
 reports and newspaper readings I am personally familiar with the devastation caused not only
 by the use of illicit drugs but also the effects of the drug trade itself on its many victims.

 I have read the previously submitted statements of Victor's many family members and can
 confirm that they are not hyperbolic but represent the truth in every way. Until his present
 difficulties Victor was a model citizen. In contradistinction, his brother Ruben is the exact
 opposite. On multiple occasions Ruben was entrusted with the hard earned savings of his
 siblings to make real estate investments on their behalf (legitimate ones, not money
 laundering) but instead ran off with the money. I do believe that for the right price Ruben
 would sell his own mother. In a way, he's already done this with his brothers Victor and Juan.

 I've read the detailed arguments by Timothy Abraham, U.S. Attorney and Anna Davide, Esq.
 Defense Counsel with regard to the matter of whether Victor's involvement was greater or
 lesser than that of his already sentenced brother Juan (46 months). In this regard and with
 thanks to Judge Guido Calabresi whose course I took at Yale Law School while I myself was an
 undergraduate, I will comment on one particular of the present proceedings. In Government's
 Response to Defendant's Objections to Presentence Investigation Report, entered into the
 docket 4-17-2020, page 2 is stated, "Victor Rojas confessed post Miranda to understanding
 during the criminal conspiracy that the money he was sending was in fact from drug
 trafficking." In contrast, on page 3 it is stated that Juan Rojas did not agree to knowing the
 money he transported or wired was from drug trafficking. Using these statements, the
 Government argues, inter alia, that this makes Victor more culpable than Juan and therefore
 subject to a longer, not shorter, sentence. It defies all reason to think that Juan could have
 physically transported as well as wired well over one million USD on behalf of his cheating
 dishonest brother and not known that the funds were illegitimately acquired. Similarly, given
 that Victor and Juan were certainly in frequent communication, it begs all credibility to believe
 that one brother (Victor) was aware but the other (Juan) was not. And, finally, with specific
 regard to the issue of culpability and given that the government generally looks positively upon
 defendants who show contrition and admit guilt (as evidenced here by the fact that Victor
 admitted his awareness of the scheme (being truthful) but his brother Juan did not (almost
 certainly lying)), this should be looked upon favorably by this court. In effect, the Government
 argues that the truth teller should be punished and the liar rewarded. Furthermore, the
 Government argues that Victor took less risk that Juan because Victor only engaged in wire
 transfers while Juan dealt largely in cash. I disagree with this logic because bank transfers and
 bank accounts are traceable whereas cash much less so. All in all, Victor and Juan committed
 these schemes together and notwithstanding the multitude of details about amounts, methods
 of conveyance, knowledge aforethought, etc. it seems to me that they were pari passu one with
 the other and consequently it would be unjust to give Victor a greater sentence than his
 brother Juan and I would beg this court to agree.
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 I understand that the reasons for incarceration are threefold: 1. Protect the public 2.
 Rehabilitation 3. Punishment. Given that Victor will be deported following service of his
 sentence #1 does not apply. Given that due to Covid-19 there have been and are unlikely to be
 rehabilitation programs #2 does not apply. So, only #3 applies. Since, due to Covid-19, Victor is
 in near solitary confinement and since this represents 'harder' time, extra credit should be
 given for the months so served as well as the ensuing months that will be similarly served. I
 would also argue that Victor's eventual deportation in itself is a punishment given that this will
 permanently separate him from his two U.S. citizen daughters. U.S. citizens released from
 prison are not subject to such punishment. This should be taken into account.

 As an Emergency Physician I was in the business of saving lives and while this 'case' is totally
 different from any I've seen I'd hope that this letter will do some good for Victor, his family and
 even for society at large.

 Sincerely,

 James S. Cohen MD
 NPI #1598926180
 DEA # BC3677905
